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                                 United States District Court
                                Southern District of New York
Virginia L. Giuffre,

               Plaintiff,                     Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

               Defendant.

____________________________/


DECLARATION OF SIGRID MCCAWLEY IN SUPPORT OF PLAINTIFF’S MOTION
TO COMPEL DATA FROM DEFENDANT’S UNDISCLOSED EMAIL ACCOUNT AND
             FOR AN ADVERSE INFERENCE INSTRUCTION


         I, Sigrid McCawley, declare that the below is true and correct to the best of my

knowledge as follows:

       1.      I am a Partner with the law firm of Boies, Schiller & Flexner LLP and duly

licensed to practice in Florida and before this Court pursuant to this Court’s Order granting my

Application to Appear Pro Hac Vice.

       2.      I respectfully submit this Declaration in Support of Plaintiff’s Motion to Compel

Data from Defendant’s Undisclosed Email Account and for Adverse Inference Instruction.

         3.    Attached hereto as Sealed Exhibit 1 is a true and correct copy of Excerpts from

 June 1, 2016, Deposition of Juan Alessi.

         4.    Attached hereto as Sealed Composite Exhibit 2 are true and correct copies of

 Excerpts from February 16, 2010 Deposition of Janusz Banasiak.

       5.      Attached hereto as Sealed Exhibit 3 is a true and correct copy of Excerpts from

April 22, 2016 Deposition of Ghislaine Maxwell.
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 I declare under penalty of perjury that the foregoing is true and correct.



                                      /s/ Sigrid McCawley ______________
                                      Sigrid McCawley, Esq.
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Dated: October 14, 2016.

                                                Respectfully Submitted,

                                                BOIES, SCHILLER & FLEXNER LLP

                                            By: /s/ Sigrid S. McCawley
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not intended to imply institutional endorsement by the University of Utah for this private representation.


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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 14th day of October, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served to all parties of record via transmission of the Electronic

Court Filing System generated by CM/ECF.

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                                                     /s/ Sigrid S. McCawley
                                                         Sigrid S. McCawley




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